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              11                        UNITED STATES DISTRICT COURT
              12                      CENTRAL DISTRICT OF CALIFORNIA
              13
                    In Re Broiler Chicken Antitrust           Case No.
              14    Litigation
                                                              Action Pending in:
              15    This Document Relates to:                 Northern District of Illinois
                    All Class Cases                           Case No. 1:16-cv-08637
              16
                                                              COMMERCIAL AND
              17                                              INSTITUTIONAL INDIRECT
                                                              PURCHASERS’ MOTION TO
              18                                              ENFORCE SUBPOENA
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               1        COMMERCIAL AND INSTITUTIONAL INDIRECT PURCHASER
                            PLAINTIFFS’ MOTION TO ENFORCE SUBPOENA
               2

               3          The Commercial and Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) in
               4    the above-entitled action, by and through undersigned counsel, and pursuant to
               5    Federal Rules of Civil Procedure (“Rules”) 45(c)(2), 45(e) and 45(g) hereby move
               6    for the entry of an order enforcing and compelling Respondent Golden State Foods
               7    Corp. (“Golden State” or “GSF”) to produce documents in response to a non-party
               8    subpoena served on Golden State by CIIPPs on May 29, 2019 in the underlying
               9    litigation, In Re Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-08637,
              10    pending in the Northern District of Illinois before Judge Thomas M. Durkin.
              11          The basis of this action and motion is that Golden State has unreasonably
              12    refused to produce transactional data or documents showing its sales and purchases
              13    of “Broilers”1 to the CIIPP Class during the Class Period. Additionally, as set
              14    forth further herein, Golden State has failed to meet and confer in good faith
              15    regarding CIIPPs’ subpoena, which has further frustrated efforts to efficiently
              16    resolve these issues. Golden State contends, in conclusory fashion, that it has no
              17    responsive documents. This contention is contradicted by record evidence
              18    produced in the case demonstrating Golden State as the “ship to” and “bill to”
              19    entity for Defendants’ Broilers.      CIIPPs have advised Golden State of this
              20    evidence. Golden State has no answer. Wasting attorney time, and now judicial
              21    resources, Golden State refuses to discuss the conflicting information and will not
              22    answer the simple question of whether it indeed purchased or sold Broilers during
              23    the relevant time period—the critical issue to resolve through CIIPPs subpoena. It
              24    has failed to provide any explanation for why it appears as the “ship to” and “bill
              25    to” entity for Broilers in Defendants’ transactional data.
                    1
              26   Broilers is defined as: “chickens raised for meat consumption to be slaughtered
                 before the age of 13 weeks, and which may be sold in a variety of forms, including
              27 fresh or frozen, raw or cooked, whole or in parts, or as a meat ingredient in a value
                 added product, but excluding chicken that is grown, processed, and sold according
              28 to halal, kosher, free range, or organic standards.”
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               1          Had Golden State engaged in good faith with CIIPPs and provided such
               2    clarity, the present action might have been avoided. But because Golden State has
               3    stubbornly refused to engage in good faith meet and confers with CIIPPs, including
               4    by failing to engage in a reasonably diligent search of their own records, this
               5    enforcement action has become necessary.
               6          Golden State’s conduct here stands in stark contrast to numerous other food
               7    service distributors from whom CIIPPs have subpoenaed and received extensive
               8    transactional data in the underlying case—transactional data that is routinely
               9    produced in similar antitrust litigation, as outlined herein. Golden State’s refusal to
              10    meet and confer in good faith is inexplicable.
              11          CIIPPs respectfully request that this Court order Golden State to comply
              12    with its obligations under the Federal Rules, respond to CIIPPs’ subpoena, and
              13    produce responsive documents and transactional data. If Golden State has
              14    information that can provide clarity regarding the conflicting evidence of its
              15    involvement in Broiler distribution, then it should be required to provide that
              16    clarity in the robust discovery meet and confers that are contemplated by the
              17    Federal Rules and required by this Court. Golden State should be required to state
              18    and then demonstrate, unequivocally, whether it purchased or sold Broilers during
              19    the Relevant Time Period.2 If Golden State has responsive data, then Golden State
              20    should be ordered to produce it.
              21    I.    INTRODUCTION
              22          The underlying litigation involves a large, complex antitrust case involving
              23    coordinated and collusive supply and other anticompetitive restrictions by the
              24    Defendants of Broilers for the purpose of fixing prices. The CIIPP Class is
              25    comprised of indirect purchasers of Broilers, and is largely made up of restaurants
              26
              27    2
                  The Relevant Time Period as stated in CIIPPs’ subpoena to Golden State Foods is
              28 January 1, 2006 through the present, unless otherwise noted.
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               1    and other commercial food preparers that purchase Broilers to make into meals for
               2    individual consumption.
               3          The CIIPP Class has alleged that they indirectly purchased Broilers from the
               4    Broiler producer Defendants, such as Tyson, Pilgrim’s, Foster Farms, and others at
               5    supracompetitive prices. See Prevost Decl., Exhibit 1 (Class Action Complaint in
               6    the underlying action). Entities like Golden State directly purchase Broilers from
               7    Defendants and resell those Broilers to CIIPP class members and others in the
               8    United States. As indirect purchasers in a price-fixing case, CIIPPs must
               9    demonstrate that the price-fixing conduct undertaken by members of the
              10    conspiracy impacted the prices at which the distributors purchased the Broilers and
              11    that those supracompetitive prices were passed-through the distribution chain to
              12    the CIIPP class. The evidence for demonstrating “pass-through” in this case is the
              13    transactional data from distributors, such as Golden State, showing what products
              14    the distributor purchased and at what price, and subsequently which of those
              15    products were resold to commercial food preparers in the CIIPP class and at what
              16    price. Transactional data of this nature is routinely produced in antitrust litigation.
              17    See e.g., F. Matthew Ralph, Caroline B. Sweeney, E-Discovery and Antitrust
              18    Litigation, Antitrust, Fall 2011, at 58, 61 (citing case decisions), a copy of which is
              19    attached hereto as Exhibit 2 to the Prevost Decl.
              20          Transactional data, of the kind requested by CIIPPs, is commonly (and by
              21    necessity) maintained by companies such as Golden State for their own internal
              22    business purposes, which is true in this case. Based on its own website, Golden
              23    State says that it is (or was) the exclusive supplier for McDonalds, and has been for
              24    over 50 years.3 The Defendants named in this case are the largest Broiler suppliers
              25    in the country. Prevost Decl. Ex. 1. It would be illogical (and indeed, entirely
              26    impractical for a business of its size) to believe Golden State does not maintain
              27    3
                       See      Golden      State    Foods,     About            Us,      available      at
              28 https://goldenstatefoods.com/about-us/history/
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               1    electronic accounting records of both its purchase of Broilers from Defendants, and
               2    its sales of Broilers to its customers. Indeed, it would be impossible to run such a
               3    distribution business without such a system. Yet, Golden State has not only refused
               4    to produce a single document or record, it has entirely failed to engage in meet and
               5    confers in good faith, despite CIIPPs’ counsel’s consistent efforts. Id. at ¶¶ 12-29.
               6          Extensive transactional data produced by Defendants in this case regarding
               7    transactions with their direct purchasers clearly identifies Golden State Foods as
               8    the “bill to” and “ship to” entity for sales of their Broilers. Notwithstanding this
               9    clear indication that Golden State has responsive documents, because it purchases
              10    Broilers from Defendants, it has refused to meet and confer to discuss the nature of
              11    these transactions and refused to confirm whether it has purchased or sold Broilers
              12    from the Defendants as the record data reflects. Golden State’s lack of effort
              13    should not be rewarded.
              14          Despite consistent and longstanding efforts by CIIPPs’ counsel to engage
              15    Golden State in a good faith meet and confer process, it has refused to produce the
              16    data or otherwise outright ignored CIIPPs’ requests to discuss the matter further;
              17    thereby necessitating this motion practice. Golden State should be ordered to
              18    produce the requested documents to CIIPPs immediately.
              19    II.   FACTUAL BACKGROUND
              20          A.     The Underlying Case and Golden State Foods
              21          The underlying litigation, In Re Broiler Chicken Antitrust Litigation, Case
              22    No. 1:16-cv-08637, is pending in the Northern District of Illinois. In this case,
              23    CIIPPs have alleged they indirectly purchased Broilers from the largest Broiler
              24    producers in the country. See Prevost Decl., Exhibit 1 (Class Action Complaint in
              25    the underlying action). Part of CIIPPs’ burden as indirect purchasers is to
              26    demonstrate that the price-fixing conduct by members of the conspiracy impacted
              27    the prices at which the distributors, like Golden State, purchased the Broilers and
              28    that those supra-competitive prices were passed-through the distribution chain to
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               1    the CIIPP class.4    Transactional data from distributors, like Golden State, is
               2    routinely produced in this type of litigation to demonstrate pass-through of the
               3    overcharge. See infra at III(C).
               4          Like countless other distributors, CIIPPs served a subpoena on Golden State
               5    because evidence demonstrated it is a major distributor of Broilers. Golden State is
               6    a large business, with an international presence. See Golden State Foods, About Us,
               7    available at https://goldenstatefoods.com/about-us/. Golden State’s own website
               8    describes it as
               9          one of the largest diversified suppliers to the foodservice industry.
              10          Headquartered in Irvine, Calif., the $5 billion company is values-
              11          based with proven performance in superior quality, innovation and
              12          customer service. Established in 1947, [Golden State] currently
              13          services 100+ leading brands (125,000+ restaurants/stores) from its
              14          50+ locations on five continents. Its core businesses include:
              15          processing and distribution of liquid products, protein, produce, dairy
              16          and other services. The company employs approximately 6,000
              17          associates and is 100 percent management-owned and run
              18    Id. (emphasis added).
              19          Golden State further advertises that it “provides custom distribution services
              20    to iconic customers throughout the United States” and is a “custom distribution
              21    company [that] is values-based and services thousands of restaurants throughout
              22    the U.S.”5
              23    4
                   Stanislaus Food Products Co. v. USS-POSCO Industries, 2012 WL 1940662, at
                 *6 (E.D. Cal., May 29, 2012) (ordering production of transactional purchase and
              24 sales data, finding it “foundational information [the] plaintiff needs.”); In re
                 Disposable Contact Lens Antitrust, 329 F.R.D. 336, 376 (M.D. Fla. 2018)
              25 (distributor transactional data directly relevant to expert analysis of class
                 certification); In re Rail Freight Fuel Surcharge Antitrust Litigation, 292
              26 F.Supp.3d 14, 53 (D.D.C. 2017) (same); In re Static Random Access Memory
                 (SRAM) Antitrust Litigation, 264 F.R.D. 603, 613, 615 (N.D. Cal. 2009).
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                    5
                       See Golden State Foods, Quality Custom Distribution, available at
              28    https://goldenstatefoods.com/logistics/quality-custom-distribution/
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               1           From 1967 to present, Golden State has been the exclusive supplier for the
               2    McDonalds restaurant chain, a commercial food preparer.6 Based on its own
               3    representations, Golden State is clearly a large player in the food supply chain that
               4    is central to this case.
               5           B.     CIIPPs’ Subpoena and Golden State’s Significance in the Market
               6           The CIIPPs served Golden State with a non-party subpoena on May 29,
               7    2019—over a year ago. See Prevost Decl., Exhibit 3. CIIPPs’ subpoena was
               8    comprised of five document requests, primarily seeking GSF’s purchase and sales
               9    data of Broilers from January 1, 2006 and present. The subpoena defined Broilers
              10    identically to the definition in CIIPPs’ complaint.       See id., Ex. 3. The key
              11    document requests for purposes of this motion are Request for Production Nos. 2
              12    and 4, which seek the production of all data reflecting Golden State’s purchases
              13    and subsequent sales of Broilers. Id.
              14           CIIPPs served identical subpoenas on numerous commercial food
              15    distributors, and successfully negotiated, and received transactional sales and
              16    purchase data from at least 22 similar food service distributors. Prevost Decl. ¶ 8.
              17    Golden State is only the second non-party whose unresponsiveness has now
              18    necessitated court intervention. Id. ¶ 9. In the first such case, CIIPPs prevailed
              19    and the court ordered the non-party to produce the data at issue. Id. ¶ 9.
              20           As detailed further herein, CIIPPs have discovered that Golden State is a
              21    large distributor in the Broiler industry. Aside from public information on GSF’s
              22    own website, evidence in this case from several sources also supports the same
              23    conclusion. Id. ¶ 10.
              24           GSF’s name is found in both documents and data produced by Defendants,
              25    including Wayne Farms, Pilgrims, Purdue and Tyson (among others), in the
              26    underlying case. Notably, GSF’s name is listed in the “bill to” and “ship to” fields
              27    6
                       See     Golden       State   Foods,      About            Us,     available     at
              28 https://goldenstatefoods.com/about-us/history/
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               1    of several Defendants’ transactional data, revealing that they purchased and/or sold
               2    Broilers during the class period. Non-party Broiler transactional data also contains
               3    mention of Golden State’s name, similarly demonstrating that Golden State is a
               4    large purchaser and seller of chicken from Defendant Broiler producers. And as
               5    stated on its website, Golden State is an exclusive supplier for McDonalds, and has
               6    been for over 50 years. While CIIPPs learned that Golden State sold part or all of
               7    its chicken business to a company called Martin Brower in November 2018, this
               8    does not mean that GSF lacks responsive documents, especially since the time
               9    period listed in CIIPPs’ subpoena is January 1, 2006 to present. Prevost Decl. ¶ 11;
              10    18.
              11          In sum, it is clear that Golden State has purchased Broilers from the
              12    Defendants, and on many occasions. Id.; see Section II(B), supra.
              13          C.    Compliance with Rule 37 and CIIPPs’ Efforts to Meet and Confer
                                With Golden State
              14
                                1.     CIIPPs’ Substantial Efforts to Meet and Confer with
              15                       Golden State
              16          After not receiving any response to the duly served subpoena within the time
              17    limits required by the Federal Rules, CIIPPs’ counsel affirmatively sought out GSF
              18    to discuss its noncompliance. Prevost Decl. at ¶ 12. After serving the May 29,
              19    2019 subpoena, on July 16, 2019, counsel for CIIPPs wrote a letter and called
              20    Golden State’s in-house department directly seeking a response. Id. at ¶ 13. Golden
              21    State ultimately served responses and objections on August 28, 2019, 34 days after
              22    the deadline for responses and objections under Rule 45. The waived objections
              23    and responses to CIIPPs’ subpoena are attached as Exhibit 4 to the Prevost Decl.
              24          Since then, CIIPPs have repeatedly attempted to meet and confer with
              25    Golden State in good faith to obtain a response or explanation for its non-
              26    responsiveness. Id. at ¶ 14. Between September 20, 2019 and April 21, 2020,
              27    CIIPPs’ counsel made at least six separate attempts to contact counsel for Golden
              28    State, via phone, email, and letter, to meet and confer. Id. at ¶ 14. On April 22,
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               1    2020, Golden State provided a conclusory Declaration asserting that it purportedly
               2    had no responsive records and that it did not purchase or sell “Broilers.” A true
               3    and correct copy of this Declaration is attached as Exhibit 7 to the Prevost Decl.
               4          After receiving the declaration, CIIPPs continued their ongoing review and
               5    evaluation of evidence produced in the underlying case. Prevost Decl. Ex. ¶ 16.
               6    Public information and other evidence produced in this litigation from several
               7    sources flatly contradict Golden State’s contentions, as stated in its declaration. Id.
               8    at ¶ 17. As noted, data produced by Defendants identify Golden State as a “bill to”
               9    and “ship to” recipient of Broilers. Prevost Decl. ¶ 18. Golden State’s name
              10    appears in Defendants’ documents and also appears in non-party data produced in
              11    this case. Id. at ¶ 18-19. Based on this evidence, it appears that Golden State is a
              12    large purchaser of chicken from Defendant Broiler producers. Id. at ¶ 18-19.
              13          As a result of the foregoing evidence, CIIPPs again attempted to meet and
              14    confer with Golden State to obtain better clarity regarding its position. Between
              15    April 23 and May 28, 2020, Golden State and CIIPPs’ counsel spoke twice,
              16    wherein CIIPPs attempted to understand the discrepancy between Golden State’s
              17    representations   in   the   declaration   with     Defendants’   transactional   data
              18    demonstrating that GSF has, in fact, purchased Broilers during the relevant period.
              19    Id. ¶¶ 16-20. Golden State’s counsel was unable, or unwilling, to respond to
              20    CIIPPs’ questions over the phone or in writing. Id. ¶ 20.
              21          On June 17, 2020, June 23, 2020 and June 29, 2020, CIIPPs’ counsel
              22    contacted counsel for GSF to meet and confer further. Id. ¶ 21. GSF’s counsel did
              23    not respond to any of these efforts. Id. ¶ 21-29.
              24          On July 22, 2020, CIIPPs’ counsel sent Golden State’s counsel a letter
              25    stating that absent a response, CIIPPs would be forced to seek Court intervention.
              26    Id. ¶ 22.   In the letter, CIIPPs explained their belief that Golden State had
              27    responsive documents because, among other reasons, its name appeared in several
              28
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               1    different evidentiary sources as a “bill to” or “ship to” recipient of Broilers. See
               2    Section II(B), supra, see also id. ¶ 18.
               3          CIIPPs went further, despite it not being their burden to do so. CIIPPs
               4    additionally provided exemplar invoice numbers of Golden State’s purchases of
               5    Broilers from Defendants so that it could conduct further due diligence on the
               6    matter. Prevost Decl. ¶ 23.
               7          GSF responded on July 27, 2020 seeking to review the underlying, highly
               8    confidential data bearing its name, but not otherwise answering any of CIIPPs’
               9    stated questions. Id. ¶ 24. On July 30, 2020, CIIPPs counsel suggested holding a
              10    teleconference call between counsel for CIIPPs, counsel for GSF, and a GSF
              11    representative who could clarify the nature of its business and answer other related
              12    questions. Id. ¶ 25. CIIPPs made clear that substantive answers to their questions
              13    might obviate Golden State’s obligation to produce documents responsive to
              14    CIIPPs’ subpoena or engage in further meet and confer. Id. ¶ 25.
              15          On August 3, 2020, GSF rejected CIIPPs’ request for a phone call, stating it
              16    is “unaware of any authority that obligates GSF to participate in a phone call for
              17    CIIPPs and answer numerous questions about its internal operations.” Id. ¶ 26.
              18    Thereafter, CIIPPs’ counsel called counsel for GSF to cure their impasse, and
              19    followed up with an email seeking a return call and expressing a desire to avoid
              20    motion practice. Id. ¶ 27. The next day, GSF again requested the opportunity to
              21    review the (highly confidential) documents, but refused to answer the threshold
              22    question of whether it purchases or sells Broilers. Id. ¶ 27. And on August 18,
              23    2020, CIIPPs’ counsel explained her willingness to send a “sample of the data”
              24    listing Golden State as a purchaser or seller of Broilers, but first sought a response
              25    to one threshold question: Did Golden State Foods buy Broilers from broiler
              26    producers during the Relevant Period? Golden State never responded to this email
              27    and has since continued to refuse to produce the requested documents under Rule
              28    45, thus necessitating this Court’s intervention.
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               1                 2.    Compliance with Local Rule 37-1
               2           Per Local Rule 37-1, as the moving party raising a discovery dispute, CIIPPs
               3    must initiate a meet and confer conference with the respondent in a “good faith
               4    effort to eliminate the necessity for hearing the motion.” See L.R. 37-1. As the
               5    foregoing makes clear, CIIPPs made consistent, repeated efforts to meet and confer
               6    with Golden State, often explicitly requesting a call with the specific purpose of
               7    avoiding motion practice. Prevost Decl. ¶ 29. Given Golden State’s long-standing
               8    lack of participation in substantive meet and confer, CIIPPs have complied with
               9    the requirements of L.R. 37-1, or in the alternative, find compliance with that rule
              10    futile under these circumstances. See Section II(C)(1) infra.
              11    III.   ARGUMENT
              12           A.    CIIPPs Served Golden State with a Valid Subpoena
              13           CIIPPs validly served Golden State with a subpoena for documents pursuant
              14    to Rule 45. See Prevost Decl. Exhibit 3. Rule 45(c)(2)(A) states that a subpoena
              15    may command “production of documents, electronically stored information, or
              16    tangible things at a place within 100 miles of where the person resides, is
              17    employed, or regularly transacts business in person.” According to its website,
              18    Golden State’s headquarters is located in Irvine, California7, and the California
              19    Secretary of State lists its address as: 18301 Von Karman Avenue, Suite 1100,
              20    Irvine, CA 92612. As such, the Central District of California is the proper venue
              21    for bringing this motion to enforce compliance with the subpoena and having been
              22    served with a proper subpoena, there is no excuse for GSF’s non-compliance. See
              23    Rule 37(a)(2) (“A motion for an order to a nonparty must be made in the court
              24    where the discovery is or will be taken.”); see also Rules 45(e)(2)(B); (d)(1); and
              25    (d)(3)(A).
              26
              27    7
                        See      Golden      State     Foods,          Locations,      available      at
              28 https://goldenstatefoods.com/locations/
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               1          B.     Golden State Failed to Timely Respond to CIIPPs’ Subpoena,
                                 Waiving All Objections
               2

               3          As noted, CIIPPs served their subpoena on May 29, 2019, and Golden State
               4    did not respond or assert objections until August 28, 2019, 34 days after the
               5    deadline for such objections; and only then after counsel for the CIIPPs pestered
               6    them for a response. Prevost Decl. ¶ 13. Having failed to timely serve their
               7    responses and objections, it is well-settled that Golden State has waived them. See
               8    Fed. R. Civ. Proc. 45(d)(2)(B). Isenberg v. Chase Bank USA, N.A., 661 F.Supp.2d
               9    627, 629 (N.D. Tex. 2009) (failure to serve responses or objections within the
              10    timeframe contemplated by Rule 45 or commanded in the subpoena “typically
              11    constitutes waiver of such objections.”). Thus, putting aside its (unsupported)
              12    contention that it has no responsive documents, this Court should not consider any
              13    objections by GSF, whether they go to proportionality, the burden of production, or
              14    some other issue.
              15          C.     CIIPPs Seek Transactional Data That Is Routinely Produced in
                                 Indirect Purchaser Antitrust Cases
              16

              17          CIIPPs’ subpoena seeks documents that squarely fall within the scope of
              18    permitted discovery, particularly in an indirect purchaser antitrust case such as this.
              19    “Relevancy is broadly construed, and a request for discovery should be considered
              20    relevant if there is ‘any possibility’ that the information sought may be relevant to
              21    the claims or defense of any party.” DAC Surgical Partners P.A. v. United
              22    Healthcare Servs., Inc. 2014 WL 585750, at *3 (S.D. Tex. Feb. 14, 2014); citing
              23    Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005). See In re:
              24    Cathode Ray Tube (CRT) Litig., 2014 WL 5462496, at *8 (N.D. Cal. Oct. 23,
              25    2014) (broad discovery permitted in antitrust actions).
              26          Transactional data from distributors and market intermediaries, such as
              27    Golden State, is highly relevant in antitrust actions such as this one. In such cases,
              28    an indirect purchaser is required to demonstrate “pass-through”, meaning that they
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               1    must prove that the supracompetitive overcharge was passed through from the
               2    direct purchasers (distributor) to the CIIPPs (here, restaurants, or entities that
               3    purchased Broilers for commercial food preparation). See, e.g., In re: TFT-LCD
               4    (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 605-606 (N.D. Cal. 2010)
               5    (transactional data incorporated in expert analysis of pass-through impact to IPPs);
               6    In re: Cathode Ray Tube (CRT) Antitrust Litig., 2013 WL 5429718, at *15 (N.D.
               7    Cal. June 20, 2013) (distributor data used as part of common evidence to quantify
               8    pass-through harm to IPPs).
               9          Transactional data is viewed by Courts as relevant and important, and is
              10    routinely produced in antitrust cases of this kind. See Stanislaus Food Products Co.
              11    v. USS-POSCO Industries, 2012 WL 1940662, at *6 (E.D. Cal., May 29, 2012)
              12    (ordering production of transactional purchase and sales data, finding it
              13    “foundational information [the] plaintiff needs.”); In re Disposable Contact Lens
              14    Antitrust, 329 F.R.D. 336, 376 (M.D. Fla. 2018) (distributor transactional data
              15    directly relevant to expert analysis of class certification); In re Rail Freight Fuel
              16    Surcharge Antitrust Litigation, 292 F.Supp.3d 14, 53 (D.D.C. 2017) (same); see
              17    also In re: Static Random Access Memory (SRAM) Antitrust Litig., No. 07-MD-
              18    1819-CW (N.D. Cal. Mar. 1, 2010); Direct Purchaser Class Plaintiffs v. Apotex
              19    Corp., 2017 WL 4230124, at *5 (S.D. Fla., May 15, 2017, No. 16-62492-MC)
              20    (requiring production of non-party transactional data, finding “the interests of
              21    justice require the enforcement of the subpoena.”); In re Rail Freight Fuel
              22    Surcharge Antitrust Litigation, 2010 WL 11613859, at *4 (D.D.C., Sept. 9, 2010)
              23    (denying non-party motion to quash subpoena, and ordering non-party to produce
              24    transactional data).
              25          In this case, pass-through will be demonstrated by showing how the price
              26    paid by distributors, such as Golden State, is compared to the resale price sold to
              27    the CIIPP Class. The Broiler purchase data will provide evidence of the amount of
              28    the overcharge paid by the distributor, here GSF. And Golden State’s sales data
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               1    will provide evidence of the amount of the overcharge “passed-on” to the CIIPP
               2    Class.
               3             Because the documents requested in CIIPPs’ subpoena easily fall within the
               4    scope of discovery, and are undoubtedly important in this case for purposes of
               5    calculating damages, this Court should order Golden State to comply with the
               6    subpoena and produce the requested documents.
               7             D.    Despite Golden State’s Refusal to Properly Meet and Confer,
                                   CIIPPs Have Obtained Substantial Evidence that it has
               8                   Responsive Documents in its Possession, Custody, or Control
               9             As made clear by the written record submitted herewith, Golden State has
              10    thus far frustrated the discovery process by its refusal to meet and confer in good
              11    faith, conduct a reasonably diligent search, and provide basic information that
              12    would have facilitated the meet and confer process. Prevost Decl. ¶¶ 12-29. Golden
              13    State’s conduct has turned the Federal Rules on its head. In seeking relevant
              14    information from a non-party, it is not the party’s obligation to prove a negative, or
              15    otherwise demonstrate that the non-party has the requested information. Instead, it
              16    is the subpoena recipient’s obligation to conduct a reasonably diligent investigation
              17    to understand whether the company possesses responsive material and, if so, where
              18    that material is located. But GSF’s utter failure to even meet and confer in this
              19    case frustrated that process—a process that has worked without difficulty for the
              20    large numbers of other food distributors that also received CIIPP subpoenas.
              21    Notwithstanding the foregoing, CIIPPs’ independent investigation has revealed
              22    that Golden State does possess responsive data that it is withholding. Id. ¶ 16-19.
              23             First, substantial evidence – both publicly available, and produced in the
              24    underlying litigation – reinforces the fact that Golden State possesses relevant
              25    documents. As mentioned, it is listed as a “bill to” and “ship to” recipient in a
              26    number of observations in the transactional data produced by the Defendant Broiler
              27    producers, in Defendants’ documents, and in the data productions from other non-
              28    party recipients of CIIPPs’ subpoenas. Prevost Decl. ¶ 18-19.
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               1            And while Golden State sold part, or all, of its chicken business to a
               2    company called Martin Brower in November 2018, GSF’s position has not been
               3    that it had responsive documents at some point and that with its sale to Martin
               4    Brower, all such documents left the premises. Instead, its position is that it does
               5    not, and never has, purchased Broilers during the Relevant Period.8 For its part,
               6    Martin Brower has produced documents responsive to CIIPPs’ subpoena from
               7    November 2018 forward, further reinforcing that GSF has relevant documents.
               8    Id., ¶ 11. In any event, GSF had ample opportunity to clarify or explain this in a
               9    meet and confer, which it failed to do. Prevost Decl. ¶¶ 12-29.
              10            Second, while its objections were not timely made (and are thus waived),
              11    objections commonly asserted by non-parties, if raised by Golden State in
              12    opposition to this motion, do not apply here. Based on Golden State’s size and
              13    presence in the market, the burden of production is low because the data is
              14    undoubtedly maintained in an enterprise sales database. And if Golden State is
              15    concerned about confidentiality—a concern it has never articulated —such a
              16    concern is without merit, as there is a Stipulated Protective Order in this case from
              17    which it can seek protection. See James Freeman d/b/a Freeman & Associates, Inc.
              18    v. Dekker Vacuum Technologies, Inc., 2015 WL 8074056, at *1 (S.D. Tex. Dec. 4,
              19    2015) (holding that confidentiality objections were mooted by the existence of a
              20    protective order). Attached hereto as Exhibit 5 to the Prevost Declaration is a true
              21    and correct copy of the Stipulated Protective Order entered in the underlying
              22    action.
              23            In sum, there is ample indicia that GSF has documents and data responsive
              24    to CIIPPs’ requests, and that Golden State’s production will clarify the supply
              25    relationship between Defendants, GSF, and other non-parties, which is important
              26    to CIIPPs’ expert’s analysis on the merits in this case. Prevost Decl. ¶¶ 11-12, 17-
              27
                    8
              28        The Relevant Time Period for CIIPPs’ subpoena begins in January 2006.
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               1    18. Moreover, GSF’s refusal to confirm or deny whether it bought or sold Broilers
               2    between January 2006 and November 2018, or explain the evidence contradicting
               3    its position is unjustified and at odds with how basic discovery practice in federal
               4    courts is intended to proceed. Id. at ¶¶ 12-29.
               5    IV.   CERTIFICATE OF CONFERENCE
               6          CIIPPs, by and through undersigned counsel, and pursuant to Local Rule
               7    37.1, hereby certify that multiple meet and confer conferences were held between
               8    counsel for the CIIPPs and counsel for Golden State regarding its refusal to comply
               9    with the subpoena. Prevost Decl. ¶¶ 12-29. After months of discussions where
              10    counsel for Golden State was either entirely non-responsive, or largely unwilling to
              11    substantively engage in meet and confer, it became evident that no agreement
              12    could be reached and Golden State would not produce the data absent Court
              13    intervention. Since Golden State has not responded to several of CIIPPs latest
              14    attempts to resolve this matter, it would appear that counsel for Golden State
              15    agrees that the parties are at impasse. Id.
              16    V.    CONCLUSION
              17          For the reasons set forth above, CIIPPs respectfully request that this Court
              18    issue an order:
              19          (1)    Compelling Golden State to produce all of its responsive transactional
              20                 data to CIIPPs within ten (10) days of the issuance of the order
              21                 pursuant to Rule 45(c)(2);
              22          (2)    Overruling any objections raised by Golden State; and
              23          (3)    For monetary sanctions in an amount according to proof for the time
              24                 and cost expended in bringing this motion, including preparing all
              25                 documents and participating in oral argument if any; and
              26          (4)    For such other and further relief, including as the Court deems just
              27                 and proper.
              28
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               1    Dated: November 13, 2020           Respectfully submitted,
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